
59 So.3d 1257 (2011)
In re Vicki Kemp CRUSE.
No. 2011-B-0487.
Supreme Court of Louisiana.
April 8, 2011.
PER CURIAM.[*]
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent failed to refund an unearned fee to a client. This misconduct occurred in the same time frame as the misconduct forming the basis of respondent's earlier disciplinary matter. Prior to the filing of new formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Vicki Kemp Cruse, Louisiana Bar Roll number 19531, be adjudged guilty of additional violations which warrant discipline and which may be considered in the event *1258 she applies for reinstatement from her suspension in In re: Cruse, 09-0028 (La.6/26/09), 15 So.3d 63, after becoming eligible to do so.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
NOTES
[*]  Chief Justice Kimball not participating in the opinion.

